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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF WYOMING

 MO POW 3, LLC and MO POW 4, LLC,         )
                                          )
               Plaintiffs,                )
                                          )
        vs.                                   Civil Action No. 22-CV-155-SWS
                                          )
                                          )
 CRYPTO INFINITI LLC,                     )
                                          )
               Defendant.
                                          )


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       Pursuant to Federal Rule of Civil Procedure (“FRCP”) 12(b)(6), Defendant Crypto Infiniti

LLC submits this brief in support of its motion to dismiss with prejudice Claims I, III, IV, and V

in the First Amended Complaint (“Amended Complaint”) filed by Plaintiffs MO POW 3, LLC and

MO POW 4, LLC (collectively “Plaintiffs”).

                                      I.     INTRODUCTION

       In the Amended Complaint, Plaintiffs try to convert an ordinary contract claim into various

flawed theories in an attempt to get MO POW 3, LLC out of its legally required performance under

the first contract and to generate additional damages against Crypto Infiniti. The Court should

dismiss these insufficiently pled claims, reject Plaintiffs’ attempts to expand this case, and focus

this case on the actual cause of action at issue.

       First, Plaintiffs’ breach of contract claim (Claim I) fails because Crypto Infiniti has fully

performed its duties under the First Master Hosting Services Agreement. Indeed, Plaintiffs fail to

allege any conduct to the contrary.

       Second, Plaintiffs’ fraudulent inducement claim (Claim III) not only fails to adequately

plead any specific actionable misrepresentations of present fact allegedly made by Crypto Infiniti

or its representatives with the particularity as required by FRCP 9(b), but also fails to adequately

plead that Crypto Infiniti made any misrepresentations or that Plaintiffs reasonably relied on any

such misrepresentations. Additionally, this claim is barred by Economic Loss Rule.

       Third, Plaintiffs’ breach of the implied covenant of good faith and fair dealing claim

(Claim IV) fails to allege any facts showing that Crypto Infiniti acted in bad faith relating to the

performance of the contracts at issue.

       Fourth, Plaintiffs’ request for Declaratory Judgment (Claim V) is unnecessarily

duplicative of their breach of contract claims, are excessively vague, and are not actually

declaratory in nature.
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               II.       NATURE OF THE CASE AND PROCEDURAL POSTURE 1

         Plaintiffs are Wyoming LLCs in the business of providing hosting services for companies

that mine digital currency. (Am. Compl., ECF No. 7, ¶¶ 1, 2, and 9.) Crypto Infiniti is a Nevada

LLC. (Id. at ¶ 3.) Crypto Infiniti mines digital currency using its mining equipment (Id. at ¶ 9.)

                     A. The First Master Hosting Services Agreement

         The Amended Complaint alleges that on May 26, 2022, MO POW 3, LLC (“MO 3”) and

Crypto Infiniti entered into the First Master Hosting Services Agreement (“First Agreement.”)

(Am. Compl. ¶ 10.) The First Agreement governed the relationship between MO 3 and Crypto

Infiniti wherein MO 3 would provide hosting services to Crypto Infiniti for fifteen (15) megawatts

(MW) of Crypto Infiniti’s digital currency equipment. (Am. Compl. ¶ 10; See generally Ex. 1 to

Am. Compl., First Agreement.) Pursuant to the terms of the First Agreement, Crypto Infiniti was

required to pay the Down Payment of $2,000,000.00 and Rate Buy Down Payment of

$2,135,250.00 after both parties had executed an Order Form in compliance with the First

Agreement. (First Agreement, § 2.1.) After the execution of the First Agreement, Crypto Infiniti

paid to MO 3 both the Down Payment and Rate Buy Down Payment, for a total payment of

$4,135,250.00. (Am. Compl. ¶ 15; First Agreement, Exhibit A.)

                     B. The Second Master Hosting Services Agreement

         The Amended Complaint alleges that also on May 26, 2022, MO POW 4, LLC (“MO 4”)—

a separate entity and distinct from MO 3—and Crypto Infiniti entered into the Second Master



1
  Unless otherwise noted, the “facts” as outlined in this section are drawn from the allegations contained in the
Amended Complaint. See Angell v. Freedom Mortg. Corp., No. 16-cv-0192, 2016 WL 9453335, at *1 (D. Wyo. Sept.
8, 2016) (noting that “[i]n reviewing a motion to dismiss under Rule 12(b)(6), this Court must accept as true all well-
pleaded factual allegations in a complaint and view these allegations in the light most favorable to the plaintiff”
(quotation marks omitted)). By reciting Plaintiffs’ allegations in this Motion, Defendant does not concede the truth
of any of Plaintiffs’ allegations. The allegations are recited herein solely for purposes of this Motion and are taken as
true solely to the extent provided under the standards governing a Rule 12 (b)(6) Motion to Dismiss.

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Hosting Services Agreement (“Second Agreement.”) (Am. Compl. ¶ 11.) The Second Agreement

governed the relationship between MO 4 and Crypto Infiniti wherein MO 4 would provide hosting

services to Crypto Infiniti for twenty (20) megawatts (MW) of Crypto Infiniti’s digital currency

equipment. (Am. Compl. ¶ 10; See generally Ex. 2 to Am. Compl., Second Agreement.) The

services under the Second Agreement were being provided independently by MO 4 to Crypto

Infiniti at a separate location than those provided by MO 3 under the First Agreement. (Compare

First Agreement, § 1.1(A)(1) with Second Agreement, § 1.1(A)(1).) Pursuant to the terms of the

Second Agreement, Crypto Infiniti was required to make a Down Payment of $3,066,000.00 to

MO 4 after both parties had executed an Order Form in compliance with the Second Agreement.

(Second Agreement, § 2.1.) Plaintiffs allege that Crypto Infiniti has failed to make the Down

Payment as prescribed by the terms of the Second Agreement. (Am. Compl. ¶ 15.)

               C. The Alleged Dispute

       After executing the First Agreement and the Second Agreement, Plaintiffs allege “[Crypto]

Infiniti had a duty to make both down payments and begin the required rate buy down payments.”

(Am. Compl. ¶ 15.) Plaintiffs take issue with the time it took Crypto Infiniti to make the required

payments under the First Agreement, but admit that the payments totaling over four million dollars

were made, and then allege “[Crypto] Infiniti has not made any of the required payments under

[the Second Agreement].” (Am. Compl. ¶ 15.) Due to this, “[o]n June 24, 2022, MO 4 notified

[Crypto] Infiniti that it was in default of its obligations in the Second [] Agreement and demanded

full payment.” (Am. Compl. ¶ 16.) “MO 4 also notified [Crypto] Infiniti that it may invoke the

termination provisions in the Second [] Agreement.” (Am. Compl. ¶ 16.) MO 3 did not assert any

allegations of default of the First Agreement. (See generally, Am. Compl.)         Crypto Infiniti

responded to the June 24, 2022, notification demanding that MO 3 upholds its duties under the


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First Agreement “even if the MO 4 Second [] Agreement got terminated.” (Am. Compl. ¶ 17.) In

response, Plaintiffs hastily instituted this action.

                D. Procedural Posture

        Plaintiffs commenced this action on or about July 18, 2022, by filing a complaint (the

“Original Complaint”) against Crypto Infiniti. (ECF No. 1). Prior to Crypto Infiniti responding

to the Original Complaint, Plaintiffs filed their second complaint (the “Amended Complaint”).

(ECF No. 7). Originally only suing for breach of contract of the Second Agreement, Plaintiffs’

Amended Complaint added a claim for breach of contract of the First Agreement.

                                    III.    LEGAL STANDARD

                A. Rule 12(b)(6) – Failure to State a Claim.

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Free Speech v. Fed.

Election Comm'n, No. 12-cv-127, 2013 WL 12142583, at *2 (D. Wyo. Mar. 19, 2013) (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)), aff'd, 720 F.3d 788 (10th Cir. 2013). “Accordingly,

complaints that ‘offer[ ] labels and conclusions[,] a formulaic recitation of the elements of a cause

of action or ‘naked assertions devoid of further factual enhancement,’ will not survive a motion to

dismiss.” Stone v. Simone, No. 13-cv-00126, 2014 WL 11357747, at *2 (D. Wyo. July 7, 2014)

(alterations in original) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 557), aff'd, 610 F.

App'x 751 (10th Cir. 2015); Morrow v. Xanterra Parks & Resorts, No. 12-cv-141, 2012 WL

13065593, at *2 (D. Wyo. Oct. 22, 2012) (“If a complaint fails to sufficiently allege facts

supporting each element of a claim, then the court should dismiss the claim under Rule 12(b)(6).”).

“In evaluating a Rule 12(b)(6) motion to dismiss, courts may consider not only the complaint itself,

but also attached exhibits, and documents incorporated into the complaint by reference.” Free

Speech, 2013 WL 12142583, at *2 (quoting Smith v. United States, 561 F.3d 1090, 1098 (10th Cir.
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2009)).

                 B. Matters outside the Pleadings.

          Generally, a court considers only the contents of the complaint when ruling on a Rule

12(b)(6) motion. However, if a Plaintiff does not incorporate by reference or attach a document to

its complaint, but the document is referred to in the complaint and is central to the Plaintiff’s claim,

a Defendant may submit an indispensable copy to the court to be considered on a motion to dismiss.

Cf. Apodaca v. Safeway, Inc., 2015 WY 51, ¶ 9, 346 P.3d 21, 23 (Wyo. 2015); Berneike v.

CitiMortgage, Inc., 708 F.3d 1141, 1146 (10th Cir 2013) (quoting GFF Corp. v. Associated

Wholesale Grocers, Inc., 130 F.3d 1381, 1384 (10th Cir. 1997)).               Moreover, “mere legal

conclusions and factual allegations that contradict . . . a properly considered document are not

well-pleaded facts that the court must accept as true.” GFF Corp., 130 F.3d at 1385. It is therefore

proper for this Court to consider the attached Economic Development Rider Agreement, Ground

Lease Agreement, and Interruptible Electric Service Agreement for purposes of this Motion to

Dismiss.

                                        IV.     ARGUMENT

                 A. Plaintiffs’ First Cause of Action Fails to State a Claim for Breach of
                    Contract.

          Plaintiffs’ breach of contract claim concerning the First Agreement fails for the simple

reason that Plaintiffs do not allege any facts showing that Crypto Infiniti breached the First

Agreement. In fact, Plaintiffs admit that Crypto Infiniti has performed its obligations under the

First Agreement by making the required payments under the First Agreement. (Am. Compl. ¶ 15).

Plaintiffs can prove no set of facts in support of their claim which would entitle them to relief.

Cleary v. Wind Quarry, LLC, No. 15-CV-189-KHR, 2016 WL 10518596, at *2 (D. Wyo. Jan. 29,

2016).

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       To overcome this issue, Plaintiffs try to obfuscate the facts and argue to this Court that

these two standalone contracts—the First Agreement and the Second Agreement—should be

“integrated” into one contract. (Am. Compl. ¶ 43.) Their reasoning behind such an argument is

obvious: MO 3 needs the alleged lack of performance by Crypto Infiniti under the Second

Agreement, to which MO 3 is not a party, as a basis to excuse its own breach of the First

Agreement. And without the integration of the two contracts, MO 3 is left exposed as being the

party who breached the First Agreement.

              Under general contract principles, when a contract expressly refers
              to and incorporates another instrument in specific terms which show
              a clear intent to incorporate that instrument into the contract, both
              instruments are to be construed together. However, in order for an
              instrument to be incorporated into and become part of a contract,
              the instrument must actually be incorporated. It is not enough for
              the contract to merely mention the instrument; the referring
              language in the contract must demonstrate the parties intended to
              incorporate all or part of the referenced instrument. Parties do not
              undertake obligations contained in a separate document unless their
              contract clearly says so. A reference in a contract to another
              instrument will incorporate the other instrument only to the extent
              indicated and for the specific purpose indicated.

Sinclair Wyoming Refinery Co. v. A&B Builders, Ltd., No. 15-CV-91-ABJ, 2019 WL 13177821,

at *12 (D. Wyo. June 11, 2019), 989 F.3d 747 (10th Cir. 202 aff'd sub nom. Sinclair Wyoming Ref.

Co. v. A & B Builders, Ltd.) (quoting Pennaco Energy, Inc. v. KD Co. LLC, 2015 WY 152, ¶ 79,

363 P.3d 18, 38–39 (Wyo. 2015) (emphasis added). The First Agreement makes the following

references to the Second Agreement:

              •   WHEREAS Client is also concurrently entering into a second
                  hosting agreement (the “2nd Agreement”) with Host’s affiliate
                  MO POW 4, LLC for colocation at MO POW 4’s facility located
                  at 5501 East Farm Road 112, Strafford, Missouri 65757;

              •   WHEREAS Client desires to “buy down” Host’s typical
                  Managed Services Fee and also MO POW 4’s typical Managed
                  Services Fee, by providing a two million dollars ($2,000,000.00)

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                   payment for discounted Managed Services in this Agreement
                   and the 2nd Agreement during the Initial Term;

               •   1.2 2nd Agreement. The Rate Buy Down is being paid as
                   consideration to “buy down” the Managed Services Rate of this
                   Agreement and the 2nd Agreement.

(Second Agreement, Recitals 2, 3, and §1.2.) Nothing in the Recitals or Section 1.2 demonstrates

that the parties intended to incorporate all or even part of the Second Agreement into the First

Agreement. There are no specific purposes indicated in the references. It is an even further stretch

when considering the parties to the agreements are different.

       Plaintiffs own Amended Complaint confirms the position that the contracts are two

separate agreements: (1) Plaintiff MO 3 asserts a breach of contract claim for the First Agreement;

(2) Plaintiff MO 4 asserts a breach of contract for the Second Agreement; and (3) Plaintiffs then

allege the following facts in their Amended Complaint:

               •   MO 3 and MO 4 entered into two binding service agreements
                   with [Crypto] Infiniti (Am. Compl. ¶ 9) (emphasis added);

               •   MO 3 executed the First Agreement with Crypto Infiniti (Am.
                   Compl. ¶ 10);

               •   MO 4 executed the Second Agreement with Crytpo Infiniti (Am.
                   Compl. ¶ 11);

               •   Payments were separately owed and calculated under the two
                   Agreements (Am. Compl. ¶ 13);

               •   Plaintiffs even plead specifically that the Second Agreement
                   “was with MO 4” and that “[t]he down payment and rate buy
                   down in the Order Form [for the Second Agreement] were
                   different than those in MO 3’s First [] Agreement.” (Am.
                   Compl. ¶ 14).

       Based on the face of the Complaint, is it not plausible that the First Agreement and Second

Agreement can be construed as one contract. Consequently, because Plaintiffs have alleged no




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conduct by Crypto Infiniti that would constitute a breach the First Agreement, that claim must be

dismissed.

               B. Plaintiffs’ Fraudulent Inducement Claim Lacks Particularity.

       Fed. R. Civ. Pro. 9(b) specifically provides that “[i]n alleging fraud or mistake, a party

must state with particularity the circumstances constituting fraud or mistake. Malice, intent

knowledge, and other conditions of a person’s mind may be alleged generally.” Fraud must be

alleged with particularity in order to meet the requirements of Fed. R. Civ. Pro. 9(b), and proved

by clear and convincing evidence. Breen v. Pruter, No. 14-cv-00081, 2015 WL 6163439, at *8

(D. Wyo. Aug. 6, 2015), aff'd, 679 F. App’x 713 (10th Cir. 2017); accord Elworthy v. First

Tennessee Bank, 2017 WY 33, ¶ 42, 391 P.3d 1113, 1124 (Wyo. 2017). In Schwartz v. Celestial

Seasonings, Inc., 124 F.3d 1246, 1252 (10th Cir. 1997), the Tenth Circuit explained that “[t]he

purpose of Rule 9(b) is to afford the defendant fair notice of plaintiff’s claim and the factual ground

upon which they are based.” The court continued, “[s]imply stated, a complaint must set forth the

time, place and contents of the false representation, the identity of the party making the false

statements and the consequences thereof.” Id.

       In this case, the Plaintiffs’ specific instances of fraudulent inducement in their Amended

Complaint are pled under Paragraphs 30 – 34. These allegations include that Crypto Infiniti (1)

“made false representations about its intent to locate its mining equipment and the required

capacity of hosting services it would require” to “induce [Plaintiffs] to uneconomically develop

digital currency mining infrastructure in Missouri for [Crypto] Infiniti;” (2) Plaintiffs entered in a

“variety of [] agreements with the local and utility” based on the false representations of Crypto

Infiniti; (3) Plaintiffs “incurred significant material expenses [] to establish and provide hosting

services to [Crypto] Infiniti; and (4) Plaintiffs have “suffered damages to be proven at trial.” (Am.

Compl. ¶¶ 30-34.) A pleading that merely avers the technical elements of fraud does not have

sufficient informational content to pass muster. Elworthy, 2017 WY 33, ¶ 42, 391 P.3d at1124–25

(internal citations omitted); see Koch v. Koch Indus., Inc., 203 F.3d 1202, 1236 (10th Cir. 2000).
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Plaintiffs’ claims fail facially as they fail to provide the times, places, or content of any of the

alleged fraudulent representations occurred; they fail to identify the speakers or recipients of any

representations; and they fail to provide the method of communication. See Koch, 203 F.3d at

1237.

         There is no clear and convincing evidence that Crypto Infiniti committed fraud, as

Plaintiffs do not provide anything more than an alleged breach of contract claim as a basis for their

fraudulent inducement claim. Accordingly, Plaintiff’s fraud claim lacks the requisite particularity

and must be dismissed.

                 C. Plaintiffs’ Claim for Fraudulent Inducement Should Be Dismissed for
                    Failure to State a Claim Upon Which Relief can be Granted.

         Even accepting the Amended Complaint’s allegations as true, Plaintiffs have failed to plead

a cause of action for fraudulent inducement with respect to both the First Agreement and the

Second Agreement. Under Wyoming law, “[t]he elements that must be alleged to support [a claim

for fraudulent inducement] are 1) the defendant made a false representation intending to induce

action by the plaintiff; 2) the plaintiff reasonably believed the representation to be true; and 3) the

plaintiff suffered damages in relying on the false representation.” Elworthy. ¶ 41, 391 P.3d at

1124. 2 (quotation marks omitted); Claman v. Popp, 2012 WY 92, ¶ 43, 279 P.3d 1003 at 1016

(Wyo. 2012). The Amended Complaint fails to meet these pleading standards for two reasons.

         First, Plaintiffs have failed to state any claim whereby Crypto Infiniti perpetrated a fraud

upon them. For Plaintiffs’ claim of fraud to survive, the Amended Complaint must reference, with

specificity, that Crypto Infiniti made a false representation and Plaintiffs then relied on such

representation. Nowhere in their Complaint do Plaintiffs reference any false representations by


2
  This claim is governed by Wyoming law both because “[a] federal court sitting in diversity applies the substantive
law of the forum state,” Mincin v. Vail Holdings, Inc., 308 F.3d 1105, 1108 (10th Cir. 2002), and because the First
Agreement and the Second Agreement contain an enforceable choice-of-law clause which provides, in pertinent part,
that “This Agreement, including performance hereunder, are governed by the laws of the State of Wyoming,
irrespective of its conflict of laws rules.” (First Agreement, at § 7.2; Second Agreement, at § 7.2)
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Crypto Infiniti upon which the Plaintiffs then relied. Plaintiffs’ claim appears to allege that

because Crypto Infiniti entered into the First Agreement and the Second Agreement, and then

allegedly breached the Second Agreement, that they somehow perpetrated fraud upon the Plaintiffs

through that breach. However, the law does not allow for a fraud claim purely because a transaction

was entered into between the parties. Mere broken promises do not constitute actionable fraud.

See, e.g., Cleary v. Wind Quarry, LLC, No. 15-cv-189, 2016 WL 10518596, at *6 (D. Wyo. Jan.

29, 2016) (noting that “a breach of contract does not automatically demonstrate fraud”). There is

no conduct of Crypto Infiniti’s that is alleged by Plaintiffs that was not contemplated by the

agreements entered between the Parties.

       Second, Plaintiffs allege they entered into “a variety of property, energy, and economic

development agreements with the local municipality and utility creating the obligation to pay the

municipal utility company for those energy services” based on unidentified false representations

by Crypto Infiniti. (Am. Compl. ¶ 31.) No agreements were attached to the Amended Complaint

in support of such claims. Crypto Infiniti, however, is aware of the Economic Development Rider

Agreement entered into between MO 3 and the City of Springfield, Missouri dated March of 2022.

(Attached as Exhibit A.) Additionally, MO 3 entered into a Ground Lease Agreement and an

Interruptible Electric Service Agreement with the City of Springfield, Missouri, both dated May

5, 2022. (Attached as Exhibits B and C.) Crypto Infiniti is not in possession of any third-party

agreements showing that MO 4 has contracted with any local municipalities or utilities. The First

Agreement between MO 3 and Crypto Infiniti and the Second Agreement between MO 4 and

Crypto Infiniti were both entered into after MO 3 had already contracted with the City of

Springfield, Missouri in all three agreements attached hereto. These agreements were sent to

Crypto Infiniti by a broker in the bitcoin mining industry prior to Crypto Infiniti having any contact

with MO 3 or MO 4. They were then resent to Crypto Infiniti by a representative for Plaintiffs
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when negotiations began regarding the First Agreement and the Second Agreement. Crypto

Infiniti did not induce, fraudulently or otherwise, MO 3 to enter contracts it had already executed

prior to even meeting the representatives of Crypto Infiniti.

       Based on the foregoing, the Court should dismiss Plaintiffs’ claim for fraudulent

inducement.

               D. The Economic Loss Rule Bars Plaintiffs Fraud Claim.

       Wyoming law recognizes the “economic loss rule,” which precludes “recovery in tort when

a plaintiff claims purely economic damages unaccompanied by physical injury to persons or

property.” Rissler & McMurry Co. v. Sheridan Area Water Supply Joint Powers Bd., 929 P.2d

1228, 1234–35 (Wyo. 1996); MK Int'l LLC v. Crown Prod. & Servs. Inc., 812 F. App'x 740, 746

(10th Cir. 2020) (“Under Wyoming law, the economic loss rule bars recovery in tort when a

plaintiff claims purely economic damages unaccompanied by physical injury to persons or

property.”). “The purpose of the ‘economic loss rule’ is to maintain the distinction between those

claims properly brought under contract theory and those which fall within tort principles.” Rissler,

929 P.2d at 1234–35. And it is “founded on the theory that parties to a contract may allocate their

risks by agreement and do not need the special protections of tort law to recover for damages

caused by a breach of contract.” Id. at 1235 (citation omitted). Claims for fraud run afoul of the

economic loss rule, and thus must be barred, when they are not based on independent duties. Excel

Const., Inc. v. HKM Eng'g, Inc., 2010 WY 34, ¶¶ 25, 31, 228 P.3d 40 (Wyo. 2010) (citing Rissler,

929 P.2d at 1235 n. 1); see also JBC of Wyoming Corp. v. City of Cheyenne, 843 P.2d 1190, 1197

(Wyo. 1992) (“[T]ort liability can only be premised on a duty independent of contractual duties.”).

A plaintiff, in other words, “may not use a fraud claim as an artifice to sidestep contractual duties

or the economic loss rule.” Excel, 2010 WY 34, ¶ 25, 228 P.3d at 47. Thus, “[t]o survive a motion

to dismiss based on the economic loss rule,” Plaintiffs must “allege sufficient facts, taken in the
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light most favorable to [them], that would amount to the violation of a tort duty that is independent

of the contract.” Spring Creek Expl. & Prod. Co., LLC v. Hess Bakken Inv., II, LLC, 887 F.3d

1003, 1020 (10th Cir. 2018) (citation omitted).


       Plaintiffs’ fraud and contract claims are based on the same alleged facts, duties, and

damages. Excel Const., 2010 WY 34, ¶ 31 (“Determining whether a particular intentional tort

claim is simply a repackaged contract claim requires consideration of the conduct alleged, its

relationship to the contractual duties of the parties, the source of the tort duty alleged to have been

breached, and the nature of the damages claimed.”). For their fraud claim, Plaintiffs allege that

Crypto Infiniti entered into the First Agreement and Second Agreement and then allegedly did not

follow through on its obligations under the Second Agreement, and such conduct perpetrated a

fraud on the Plaintiffs. Yet these are the exact same allegations Plaintiffs assert with respect to

their claims for breach of contract against Crypto Infiniti (See, e.g., Am. Compl., ¶¶ 18-28.)

        Plaintiffs’ fraud claim is not based on an independent duty. Without an independent duty,

the Plaintiffs’ fraud claim is nothing more than a repackaged version of its breach of contract claim

and is barred by the economic loss rule. For this additional reason, Plaintiffs’ fraud claim must be

dismissed.

               E. Plaintiffs’ Fourth Cause of Action Fails to State a Claim for Breach of the
                  Duty of Good Faith and Fair Dealing.

       Plaintiffs’ fourth cause of action seeks damages for breach of the duty of good faith and

fair dealing. (Am. Compl. ¶¶ 35-38.) This claim fails because it again merely duplicates Plaintiffs’

breach of contract claims, rather than resting on any concrete, independent allegations of bad faith

conduct. A breach of the covenant of good faith and fair dealing implied in a contract occurs when

a party interferes or fails to cooperate in the other party’s performance of its duties under the

contract. Bear Peak Res., LLC v. Peak Powder River Res., LLC, 2017 WY 124, ¶ 68, 403 P.3d
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1033, 1054 (Wyo. 2017) (quoting Scherer Constr., LLC v. Hedquist Constr., Inc., 2001 WY 23, ¶

19, 18 P.3d 645, 653-54 (Wyo. 2001)). “The covenant of good faith and fair dealing may not,

however, be construed to establish new, independent rights or duties not agreed upon by the parties.

In other words, the concept of good faith and fair dealing is not a limitless one.” Id. Further,

“[u]nder Wyoming law, a claim for breach of the implied covenant of good faith and fair dealing

cannot exist where a party is simply exercising those rights that they are contractually entitled to

exercise.” Harper v. Fidelity & Guar. Life Ins. Co., 2010 WY 89, ¶ 34, 234 P.3d 1211, 1221 (Wyo.

2010). The Tenth Circuit has further held that “a party to a contract cannot claim its benefits where

he is the first to violate its terms.” In Re Country World Casinos, Inc., 181 F.3d 1146, 1150 (10th

Cir. 1999) (quoting Western Plains Serv. Corp. v. Pondersoa Dev. Corp., 769 F.2d 654, 657 (10th

Cir. 1985).

       In their Amended Complaint, by direct reference, MO 3 admits that they were the first

party to breach the First Agreement. (Am. Compl. ¶¶ 43-44) The Plaintiffs chose to enter into two

separate agreements with Crypto Infiniti. MO 3 entered into the First Agreement with Crypto

Infiniti, and MO 4 entered into the Second Agreement with Crypto Infiniti. Crypto Infiniti has

fully performed its duties under the First Agreement with MO 3 by making the required payments

under the First Agreement. (Am. Compl. ¶15.) MO 3, however, has not held up their end of the

bargain by complying with their obligations under the First Agreement, (Am. Compl. ¶ 17) and is

asking this Court to absolve them of their duties under the First Agreement. (Am. Compl. ¶¶ 43-

44.) Because MO 3, by their own admission, were the first to breach the First Agreement, and have

alleged no conduct by Crypto Infiniti that would support a breach of the covenant of good faith

and fair dealing, they have no valid claim for breach of the duty of good faith and fair dealing in

this case. In Re Country World Casinos, Inc., 181 F.3d at 1150.


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       MO 4 also asserts a breach of the duty of good faith and fair dealing as it relates to the

Second Agreement. (See Am. Compl. ¶¶ 35-38.) Plaintiffs, again, however, rely solely on the

same facts that are in support of their breach of contract claims. “In the absence of evidence of

self-dealing or breach of community standards of decency, fairness and reasonableness, the

exercise of contractual rights alone will not be considered a breach of the covenant.” Ultra Res.,

Inc. v. Hartman, 2010 WY 36, ¶ 85, 226 P.3d 889, 920 (Wyo. 2010) (internal citations omitted).

The only alleged conduct to support Plaintiffs’ claim of a breach of the duty of good faith and fair

dealing as it relates to the Second Agreement is the allegation that Crypto Infiniti “has not made

any of the required payments under MO 4’s Second [] Agreement.” (Am. Compl. ¶ 16.) “Although

[the Wyoming Supreme Court has] recognized that resolution of a bad faith claim will generally

involve a factual inquiry, a party is entitled to a judgment as a matter of law if, under the facts in

the record, the party’s actions alleged as a basis for the breach of the implied covenant were in

conformity with the clear language of the contract.” Ultra, 2010 WY 36, ¶ 85, 226 P.3d at 920

(internal citations and quotations omitted). An alleged failure to pay amounts owed under the

Second Agreement, Am. Compl. ¶¶15-17 and 36-38, does not rise to the level of factual conduct

necessary to support a claim of breach of the duty of good faith and fair dealing.

       For these reasons, Plaintiffs’ claim for breach of the implied duty of good faith and fair

dealing as to both the First Agreement and the Second Agreement should be dismissed.

               F. Plaintiffs’ Declaratory Judgment Claim Should Be Dismissed.

       The Amended Complaint’s fifth cause of action seeks a declaration that the First

Agreement and Second Agreement “represent an interrelated set of agreements that require the

performance of both.” (Am. Compl., ¶ 44.) Plaintiffs further seek a declaration that MO 3 is

excused from performance under the First Agreement due to Crypto Infiniti’s alleged failure to

perform under the Second Agreement – an agreement MO 3 is not even a party to. This claim
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should be dismissed because such is duplicative of the breach of contract claims pleaded in the

Amended Complaint’s first and second causes of action. To succeed on their breach of contract

claims, Plaintiffs must demonstrate that they performed under the contracts or were excused from

doing so (i.e., that they themselves are not in breach of the contracts). Halling v. Yovanovich, 2017

WY 28, ¶ 13, 391 P.3d 611, 616–17 (Wyo. 2017) (holding that an essential element of a breach of

contract claim is that the defendant’s failure to perform was un-justified); Maverick Benefit

Advisors, LLC v. Bostrom, 2016 WY 96, ¶ 14, 382 P.3d 753, 758 (Wyo. 2016) (“The rule provides

that a party cannot claim the benefit of a contract that it was the first to materially breach.”).

       Determining these identical issues in the context of a declaratory judgment claim would

therefore be unnecessary and duplicative. U.S. Aviation Underwriters, Inc. v. Dassault Aviation,

505 F. Supp. 2d 1252, 1271 (D. Wyo. 2007) (dismissing declaratory judgment claim as “not

appropriate” where it sought “to address [Plaintiffs’] breach of contract/warranty claims in a

declaratory judgment context”); Franklin Life Ins. Co. v. Johnson, 157 F.2d 653, 657 (10th Cir.

1946). Indeed, the purpose of the Declaratory Judgment Act, 28 U.S.C. § 2201, is to “enable[]

parties uncertain of their legal rights to seek a declaration of right prior to injury.” U.S. Aviation

Underwriters, Inc., 505 F. Supp. 2d at 1271 (emphasis added) (quotation marks omitted). There

is no need to seek a declaration of rights after “damages have already accrued.” Id. Such would be

directly contrary to the purpose of declaratory relief and is a waste of judicial resources.

                                      V.      CONCLUSION

       For the reasons set forth above, Crypto Infiniti respectfully requests that the Court grant its

Motion and dismiss Claims I, III, IV, and V asserted in the Amended Complaint with prejudice.

       DATED this 29th day of August 2022.




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       This is to certify that on the 29th day of August, 2022, a true and correct copy of the
foregoing was served upon counsel as follows:

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